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5    Attorney for Defendant
     ELISEO JARA, JR.
6

7

8                           IN THE UNITED STATED DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )   Case No.: 1:12-cr-00213 AWI DLB
                                                      )
12                  Plaintiff,                        )   STIPULATION TO CONTINUE INITIAL
                                                      )   APPEARANCE ON PETITION FOR
13          vs.                                       )   VIOLATION OF SUPERVISED RELEASE;
                                                      )   ORDER
14   ELISEO JARA, JR.,                                )
                                                      )
15                  Defendant.                        )
16          Defendant Kenneth Eliseo Jara, Jr., by and through his attorney of record, Carl M. Faller,
17   and the United States of America, by and through its attorney of record, Benjamin B. Wagner,
18   United States Attorney, and Kirk Sherriff, Assistant U.S. Attorney, hereby agree and stipulate as
19   follows:
20          This matter is currently set for an initial appearance on a petition for violation of
21   supervised release on September 17, 2012 at 2:30 pm, before the Honorable Jennifer L.
22   Thurston, United States Magistrate Judge. It is the mutual desire of the parties that the matter be
23   continued until October 3, 2012, at 1:30 pm, and that the matter be handled in Fresno, before the
24   Honorable Gary S. Austin, United States Magistrate Judge.
25
     Dated: September 25, 2012                             /s/Carl M. Faller
26
                                                           CARL M. FALLER
27                                                         Attorney for Defendant

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                                                                         BENJAMIN B. WAGNER
1
                                                                         United States Attorney
2
     Dated: September 25, 2012                                       By /s/Kirk Sherriff
3                                                                       KIRK SHERRIFF
                                                                        Assistant U.S. Attorney
4                                                                       Attorney for United States of America
5

6                                                               ORDER
7           Based upon the stipulation of counsel, the Court ORDERS:
8           1.                    The stipulation to continue the initial appearance on the petition for violation of
9    supervised release from September 27, 2012, at 2:30 p.m. before the Honorable Jennifer L.
10   Thurston to October 3, 2012 at 1:30 pm before the Honorable Gary S. Austin, is GRANTED.
11
     IT IS SO ORDERED.
12

13      Dated:                    September 26, 2012                         /s/ Jennifer L. Thurston
            DEAC_Signature-END:
                                                                      UNITED STATES MAGISTRATE JUDGE
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            9j7khijed
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